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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                           CRIMINAL ACTION NOS. 2:12-cr-00207-02
                                                                  2:13-cr-00225-02

GUY R. MILLER,

                              Defendant.


                  MEMORANDUM OPINION AND JUDGMENT ORDER

       Pending before the Court is a motion, brought pursuant to 18 U.S.C. § 3582(c)(2), to

reduce Defendant’s sentence based on a subsequent reduction in the applicable sentencing

guideline. On November 1, 2014, the United States Sentencing Guidelines were amended

resulting in reductions in the guidelines in Section 2D1.1. The guideline reduction was given

retroactive effect. Pursuant to the order entered on June 4, 2015, this case was designated for

Standard consideration.

       The Court has received the original Presentence Investigation Report (PSI), original

Judgment and Commitment Order and Statement of Reasons, plea agreement, and addendum to

the PSI from the Probation Office, and received any materials submitted by the parties on this

issue. The Court concludes that the Defendant is not eligible for a reduction in his sentence

because the guidelines in his case are not lowered, and this is because of the grouping analysis in

U.S.S.G. § 3D1.4.
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       Based on the foregoing considerations, the Court finds that the Defendant is ineligible for a

sentence reduction based on the 2014 amendments to U.S.S.G. § 2D.1.1.                 Accordingly,

Defendant’s motion for a sentence reduction [ECF 243] is DENIED.

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to the Federal Public

Defender, the Defendant, the United States Attorney, the United States Probation Office, and the

United States Marshal.

                                             ENTER:          July 14, 2016
